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                                       Nos. 23-5600/5609

                           UNITED STATES COURT OF APPEALS
                                FOR THE SIXTH CIRCUIT


                     No. 23-5600                       )
L.W., by and through her parents and next friends,     )                    FILED
                                                       )                 Jul 08, 2023
Samantha Williams and Brian Williams, et al.,
                                                       )            DEBORAH S. HUNT, Clerk
       Plaintiffs-Appellees,                           )
                                                       )
       v.
                                                       )
JONATHAN THOMAS SKRMETTI, in his official              )
capacity as the Tennessee Attorney General and         )
Reporter, et al.,                                      )
                                                       )
       Defendants-Appellants,                          )
                                                       )
UNITED STATES OF AMERICA,                              )                 ORDER
     Intervenor-Appellee.                              )
                                                       )
                     No. 23-5609                       )
JANE DOE 1, et al.,                                    )
                                                       )
       Plaintiffs-Appellees,
                                                       )
       v.                                              )
                                                       )
WILLIAM C. THORNBURY, JR., M.D., in his                )
official capacity as the President of the Kentucky     )
Board of Medical Licensure, et al.,                    )
       Defendants,                                     )
                                                       )
COMMONWEALTH OF KENTUCKY EX REL.                       )
ATTORNEY GENERAL DANIEL CAMERON,                       )
                                                       )
       Intervenor-Appellant.                           )


       Upon review, the panel has decided that these cases involve similar issues and would

benefit from consolidation. The cases are hereby consolidated for the purpose of submission.
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                                       Nos. 23-5600/5609


Expedited briefing and submission are also appropriate. The panel asks the parties to brief whether

the Appellees have standing and whether sufficient discovery has been taken on that point.

Appellants must file their brief by Monday, July 24, 2023. Any amici supporting the Appellants

shall file their briefs by the same date. Appellees must file their briefs by Thursday, August 10,

2023. Any amici supporting the Appellees shall file their briefs by the same date. Reply briefs

shall be filed by Thursday, August 17, 2023. No extensions of time will be granted absent

extraordinary reasons. The panel will announce a date for oral argument as soon as it is practical

to do so.

                                             ENTERED BY ORDER OF THE COURT




                                             Deborah S. Hunt, Clerk




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